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HQ Direct Sales

Qty

Sales

Manufacturing

Qty

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GA Expense

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Sales Expense

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(Paid Commission)

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R&D Expense

Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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Focus $ (SGH-1937)

: North America(USA)

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| 18 | Sales Expenses
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| 29 | Operating Expense
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[34 | Sales Expenses
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36 (Marketing) _
| 37 | (Paid Commission)
| 38} (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
| 42 | SECA | Qty
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44 Others | Qty
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HQ Direct Sales

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R&D Expense
(Labor cost)
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(Others)
Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 11 of 172

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9 Sales} STA Qty
10 Sales
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12 COGS
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15 (Labor cost)
16 (Depreciation)
17 (Others)
18 Sales Expenses
19 (Logistics Cost)
20 (Marketing)
21 (Paid Commission)
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25 Operating Profit
26 SEA Qty
27 Sales
28 COGS
29 Operating Expense
30 G&A
31 (Labor cost)
32 (Depreciation)
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34 Sales Expenses
35 (Logistics Cost)
36 (Marketing)
37 (Paid Commission)
38 (Insurance)
39 (Others)
40 Others
41 Operating Profit
42 SECA | Qty
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Jan | Feb | Mar! 1Q Apr May) Jun | 2Q Jul Aug} Sep | 30 Oct Nov} Dec) 40 Jan Feb Mar! 1Q| Apr

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 18 of 172

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30 COGS
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55 Sales Expense
= Manufacturing (Marketing) .
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= (Insurance)
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= (Labor cost)
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$4 Operating Profit
65 (%)

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Sales Expenses
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HQ Direct Sales

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Sales Expense

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R&D Expense
(Labor cost)
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(Others)
Operating Profit

(%)

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BA BB BC | BD BE BF BG BH Bl BJ BK BL BM BN BO BP BQ BR

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| BS BT BU BV BW Bx BY BZ CA CB cc cD CE CF

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Gravity TXT (SGH-T379) : North America(USA)

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Sales Expense

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R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 39 of 172

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| 18 | _ Sales Expenses
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20 (Marketing)
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25 Operating Profit
26 | SEA | Qty
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34 | Sales Expenses
| 35 | (Logistics Cost)
36 (Marketing)
| 37 | (Paid Commission)
| 38 | (Insurance)
| 39 | (Others)
| 40 | Others
41 | Operating Profit
| 42 | SECA Qty
| 43 | Sales
44 Others | Qty
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Case 5:11-cv-01846-LHK

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HQ Direct Sales

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R&D Expense

(Labor cost)
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(Others)

Operating Profit

(%)

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Operating Profit
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R&D Expense

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Operating Profit

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(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 59 of 172

BQ BR BS BT BU BV BW Bx BY Bz cA cB cc

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Operating Expense

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(Labor cost)
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Sales Expenses

(Logistics Cost)
(Marketing)
(Paid Commission)
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Operating Profit

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Qty

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COGS

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G&A
(Labor cost)
(Depreciation)
(Others)

Sales Expenses
(Logistics Cost)
(Marketing) __
(Paid Commission)
(Insurance)
(Others)

Others

Operating Profit

SECA

Qty

Sales

Others

Qty

Sales

Oct | Nov. Dec | 4

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HQ Direct Sales

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Sales

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GA Expense

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(Others)

R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 68 of 172

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| 17} (Others)
| 18 | Sales Expenses
19 (Logistics Cost)
| 20 | (Marketing)
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25 Operating Profit
26 | SEA Qty
[27 | Sales
| 28 | COGS
| 29 | Operating Expense
30 G&A
[31 | (Labor cost)
| 32 | (Depreciation)
33 (Others)
34 | Sales Expenses
| 35 | (Logistics Cost)
36 (Marketing)
| 37 | (Paid Commission)
| 38} (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
| 42 | SECA Qty
| 43 | Sales
44 Others | Qty
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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 70 of 172

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HQ Direct Sales

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GA Expense

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Sales Expense

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R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 74 of 172

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 76 of 172

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25 Operating Profit

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| 40 | Others

| 41 | Operating Profit

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 78 of 172

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HQ Direct Sales

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Sales

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Sales Expense

(Marketing)

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(Insurance)
(Others)

R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 83 of 172

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 86 of 172

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| 12 | COGS
13 | Operating Expense
14 G&A
15 | (Labor cost}
| 16 | (Depreciation)
[17] (Others)
| 18 | Sales Expenses
| 19 | (Logistics Cost)
20 (Marketing)
[21 | (Paid Commission)
22 (Insurance)
[23 | (Others)
| 24 | Others
25 Operating Profit
26 | SEA | Qty
[27 | Sales
28 COGS
[29 | Operating Expense
30 G&A
31 | (Labor cost}
| 32 | (Depreciation)
33 (Others)
34 | Sales Expenses
| 35 | (Logistics Cost)
36 (Marketing) _
| 37 | (Paid Commission)
| 38} (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
| 42 | SECA Qty
| 43 | Sales
44 Others | Qty
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HQ Direct Sales

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R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 92 of 172

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 95 of 172

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(Paid Commission)
(Insurance)
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Others

Operating Profit

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(Depreciation)
(Others)

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HQ Direct Sales

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Manufacturing

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COGS

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(Depreciation)
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Sales Expense

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(Paid Commission)

(Insurance)
(Others)

R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 101 of 172

Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 102 of 172

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 103 of 172

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(Marketing)
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Others

Operating Profit

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COGS

Operating Expense

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(Labor cost)
(Depreciation)
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Sales Expenses
(Logistics Cost)
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Operating Profit

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HQ Direct Sales

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Manufacturing

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GA Expense

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Sales Expense

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(Insurance)
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R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 110 of 172

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Operating Expense

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Sales Expenses
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HQ Direct Sales

Qty

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(Paid Commission)
(Insurance)

(Others)
R&D Expense
(Labor cost)
(Depreciation)
(Others)
Operating Profit

(%)

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| 12 | COGS
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| 18 | _ Sales Expenses
| 19 | (Logistics Cost)
20 (Marketing)
[21 | (Paid Commission)
22 (Insurance)
[23 | (Others)
| 24 | Others
25 Operating Profit
26 | SEA Qty
[27 | Sales
| 28 | COGS
| 29 | Operating Expense
30 G&A
[31 | (Labor cost)
| 32 | (Depreciation)
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34 | Sales Expenses
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| 41 | Operating Profit
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43 Sales
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HQ Direct Sales

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COGS

GA Expense

(Labor cost) _
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Sales Expense

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(Others)

R&D Expense

~~ (Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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2] Memoir (SGH-T929) : North America(USA)
4 | 2007 | 2007
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6 | Qty
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[10 | Sales
| 11 | ASP
| 12 | COGS
13 | Operating Expense

14 G&A
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| 16 | (Depreciation)
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25 Operating Profit
26 | SEA | Qty
[27 | Sales
| 28 | COGS
| 29 | Operating Expense

30 G&A
[31 | (Labor cost)
| 32 | (Depreciation)

33 (Others)
34 | Sales Expenses
| 35 | (Logistics Cost)

36 (Marketing) __
| 37 | (Paid Commission)
| 38} (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
| 42 | SECA Qty
| 43 | Sales

44 Others| Qty
| 45 | Sales

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HQ Direct Sales

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(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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| 11 | ASP
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13 | Operating Expense
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20 (Marketing)
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22 (Insurance)
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| 24 | Others
25 Operating Profit
26 | SEA | Qty
[27 | Sales
| 28 | COGS
| 29 | Operating Expense
30 G&A
31 | (Labor cost)
| 32 | (Depreciation)
33 (Others)
[34 | Sales Expenses
| 35 | (Logistics Cost)
36 (Marketing) _
| 37 | (Paid Commission)
| 38} (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
| 42 | SECA | Qty
| 43 | Sales
44 Others | Qty
| 45 | Sales

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(Labor cost)
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Operating Profit

(%)

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Case 5:11-cv-01846-LHK Document 2454-5 Filed 09/25/13 Page 148 of 172

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HQ Direct Sales

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Manufacturing

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(Depreciation)
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Sales Expense

(Marketing)

(Paid Commission)

(Insurance)
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R&D Expense

(Labor cost)
(Depreciation)
(Others)

Operating Profit

(%)

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2] Focus (SGH-1917) : North America(USA)
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| 12 | COGS
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| 16 | (Depreciation)
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| 18 | Sales Expenses
| 19 | (Logistics Cost)
20 (Marketing)
[21 | (Paid Commission)
22 (Insurance)
[23 | (Others)
| 24 | Others
25 Operating Profit
26 | SEA | aty
[27 | Sales
| 28 | COGS
| 29 | Operating Expense
30 G&A
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| 32 | (Depreciation)
33 (Others)
34 | Sales Expenses
| 35 | (Logistics Cost)
36 (Marketing)
| 37 | (Paid Commission)
| 38 | (Insurance)
| 39 | (Others)
| 40 | Others
| 41 | Operating Profit
a2 | SECA | Qty
| 43 | Sales
44 | Others | Qty
45 | Sales

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HQ Direct Sales

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Sales Expense

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R&D Expense

(Labor cost)
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Operating Profit

(%)

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